                     Case 2:08-cr-00093-KJM Document 1664 Filed 10/10/19 Page 1 of 12
AO 245C-CAED (Rev. 02/2018) Sheet 1 - Amended Judgment in a Criminal Case      (NOTE: Identify Changes with Asterisks*)



                              UNITED STATES DISTRICT COURT
                                                   Eastern District of California
                UNITED STATES OF AMERICA                                     AMENDED JUDGMENT IN A CRIMINAL CASE
                           v.                                                Case Number: 2:08CR00093-6
                    JOSHUA COFFMAN                                           Defendant's Attorney: John Paul Balazs, Appointed
 Date of Original Judgment:              November 12, 2014
 (Or Date of Last Amended Judgment)

Reason for Amendment:
   Correction of Sentence on Remand ( 18 U.S.C. 3742(f)(1) and (2))           Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
                                                                              Modification of Imposed Term of Imprisonment for Extraordinary and
   Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))
                                                                              Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                              Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
   Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(a))
                                                                              to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
   Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)           Direct Motion to District Court Pursuant to   28 U.S.C. §2255,
                                                                                   18 U.S.C. §3559(c)(7),    Modification of Restitution Order
THE DEFENDANT:
     pleaded guilty to Count 1 of the Superseding Indictment.
     pleaded nolo contendere to count(s)      , which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
The defendant is adjudicated guilty of these offense:
Title & Section                   Nature of Offense                                                               Offense Ended          Count
                                         Conspiracy to Commit Mail Fraud
18 U.S.C. § 1349                                                                                                  3/14/2006              1
                                         (CLASS C FELONY)

       The defendant is sentenced as provided in pages 2 through 10 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      .
     Count(s)      dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                      Appeal rights waived.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                             11/12/2014
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judicial Officer
                                                                             Kimberly J. Mueller, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             10/10/2019
                                                                             Date
                    Case 2:08-cr-00093-KJM Document 1664 Filed 10/10/19 Page 2 of 12
AO 245B-CAED (Rev. 02/2018) Sheet 2 - Imprisonment
DEFENDANT: JOSHUA COFFMAN                                                                                                 Page 2 of 10
CASE NUMBER: 2:08CR00093-6

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
20 months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The court recommends that the defendant be incarcerated in FPC Montgomery, Alabama; insofar, as this accords with security
      classification and space availability. The court also recommends the defendant participate in the 500-Hour Bureau of Prisons
      Substance Abuse Treatment Program.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2:00 PM on 1/14/2015 .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                        to
at                                                   , with a certified copy of this judgment.



                                                                        United States Marshal


                                                                        By Deputy United States Marshal
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AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: JOSHUA COFFMAN                                                                                                     Page 3 of 10
CASE NUMBER: 2:08CR00093-6

                                                           SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
36.

                                                    MANDATORY CONDITIONS
You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two (2) periodic drug tests thereafter, not to exceed four (4) drug tests per month.


      The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
      abuse.

      You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
      restitution.

      You must cooperate in the collection of DNA as directed by the probation officer.

      You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted of a qualifying offense.

      You must participate in an approved program for domestic violence.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: JOSHUA COFFMAN                                                                                                     Page 4 of 10
CASE NUMBER: 2:08CR00093-6

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
         different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
         how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the Court or the probation officer.
4.       You must answer truthfully the questions asked by the probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
         living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
         change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
         probation officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
         you from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation
         officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
         or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
         probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
         been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
         permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
         nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the Court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
         may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
         contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.
                                                     U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _____________________________ Date _________________
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AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: JOSHUA COFFMAN                                                                                                         Page 5 of 10
CASE NUMBER: 2:08CR00093-6

                                          SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or restitution ordered by this
         Judgment is paid in full, unless the defendant obtains approval of the court or the probation officer.
3.       The defendant shall provide the probation officer with access to any requested financial information.
4.       As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to obtain
         assistance for drug or alcohol abuse.
5.       The defendant shall not open additional lines of credit without the approval of the probation officer.
6.       As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
         etc.) to determine if he has reverted to the use of drugs or alcohol.
                    Case 2:08-cr-00093-KJM Document 1664 Filed 10/10/19 Page 6 of 12
AO 245B-CAED (Rev. 02/2018) Sheet 5 - Criminal Monetary Penalties
DEFENDANT: JOSHUA COFFMAN                                                                                                        Page 6 of 10
CASE NUMBER: 2:08CR00093-6

                                              CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                       Assessment                      Fine                     Restitution
         TOTALS                                         $100.00                        $0.00                   $7,715,424.44
      The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The court orders the defendant to pay restitution to the victim(s) as outlined in the Restitution Attachment on Sheet 5B.

      In addition, the court gives notice that this case involves other defendants, or may involve other defendants, who may be held
      jointly and severally liable for payment of all or part of the restitution ordered herein and may order such payment in the
      future. Such future orders do not increase the amount of restitution ordered against the defendant.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             The interest requirement is waived for the                fine         restitution

             The interest requirement for the               fine         restitution is modified as follows:


      If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

      If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
      shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 02/2018) Sheet 5B - Criminal Monetary Penalties
DEFENDANT: JOSHUA COFFMAN                                                                                                 Page 7 of 10
CASE NUMBER: 2:08CR00093-6

                                                     RESTITUTION PAYMENTS
Restitution of $1,967,541.05, jointly and severally with co-defendant Akemi Bottari (2:08-cr-00093-5), Andrew Vu (2:08-cr-00093-
14), Charles Head (2:08-cr-00093-1), Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7), Justin Wiley (2:08-
cr-00093-15) and Kou Yang (2:08-cr-00093-16), to:
BEN TAYLOR                                                           ESTHER FLORIN
CLOVIS, CA 93611                                                     SAN BERNARDINO, CA 92404
$78,806.71                                                           $242,788.47
FRANCISCO CONCEBIDA                                                  JANET BROWN
NORTH HOLLYWOOD, CA 91606                                            BELLFLOWER, CA 90706
$60,600.53                                                           $240,702.58
JANET HICKMAN                                                        JOHN & DONNA WOODWARD
POMONA, CA 91767                                                     LAKE ELSINORE, CA 92530
$88,200.00                                                           $225,138.10
KARIE JOEST                                                          LORRAINE MACK
TULARE, CA 93274                                                     SAN DIEGO, CA 92102
$131,153.22                                                          $198,274.05
MARY & DENNIS ROLLINS                                                MELANIA CONTRERAS
PALMDALE, CA 93550                                                   ONTARIO, CA 91762
$202,911.41                                                          $253,572.19
SHANNON TAYLOR                                                      TERRYLYNN WALKER
CLOVIS, CA 93611                                                    VICTORVILLE, CA 92392
$78,806.72                                                          $166,587.07
Restitution of $119,014.45, jointly and severally with co-defendant Akemi Bottari (2:08-cr-00093-5) and Charles Head (2:08-cr-
00093-1), to:
TERESA ROGERS
HENDERSON, NV 89012
$119,014.45
Restitution of $125,047.05, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Elham Assadi (2:08-cr-00093-3), Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7), Justin Wiley (2:08-cr-
00093-15) and Kou Yang (2:08-cr-00093-16), to:
LISA WOODS
DIAMOND BAR, CA 91765
$125,047.05
Restitution of $131,980.33, jointly and severally with co-defendant Justin Wiley (2:08-cr-00093-15), to:
HAL HALPERN                                                         OMAR KENYATTA
ALISO VIEJO, CA 92656
$71,640.33                                                          $60,340.00
Restitution of $150,000.00, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7), Justin Wiley (2:08-cr-00093-15) and Kou Yang (2:08-cr-
00093-16), to:
LEONARD AMBROSE
OAKLAND, CA 94602
$150,000.00
Restitution of $151,139.80, jointly and severally with co-defendant Charles Head (2:08-cr-00093-1), John Corcoran (2:08-cr-
00093-7), Keith Brotemarkle (2:08-cr-00116-2) and Kou Yang (2:08-cr-00093-16), to:
MANUEL MEDINA
SUN VALLEY, CA 91352
$151,139.80
Restitution of $158,657.16, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7), Justin Wiley (2:08-cr-00093-15), Kou Yang (2:08-cr-
00093-16) and Omar Sandoval (2:08-cr-00093-11), to:
                  Case 2:08-cr-00093-KJM Document 1664 Filed 10/10/19 Page 8 of 12
RICKARDO & KATHLEEN MARCELINO
REDLANDS, CA 92374
$158,657.16
Restitution of $191,011.55, jointly and severally with co-defendant Charles Head (2:08-cr-00093-1) and Omar Sandoval (2:08-cr-
00093-11), to:
PAMELA HAMILTON
GARDENA, CA 90247
$191,011.55
Restitution of $316,744.79, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7), Justin Wiley (2:08-cr-00093-15), Kou Yang (2:08-cr-
00093-16) and Leonard Bernot (2:08-cr-00093-4), to:
SHARI & TED GARFINKLE
LAFAYETTE, CA 94549
$316,744.79
Restitution of $320,863.84, jointly and severally with co-defendant Akemi Bottari (2:08-cr-00093-5) and Justin Wiley (2:08-cr-00093-
15), to:
JONATHAN BOWMAN                                                   MICHAEL ROSS

$260,697.40                                                         $60,166.44
Restitution of $36,985.18, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Domonic McCarns (2:08-cr-00116-5), Elham Assadi (2:08-cr-00093-3), Jeremy Michael Head (2:08-cr-00093-2), John Corcoran
(2:08-cr-00093-7), Kou Yang (2:08-cr-00093-16) and Omar Sandoval (2:08-cr-00093-11), to:
DELMA ROMERO
MODESTO, CA 95358
$36,985.18
Restitution of $376,450.18, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Elham Assadi (2:08-cr-00093-3), Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7), Kou Yang (2:08-cr-
00093-16) and Omar Sandoval (2:08-cr-00093-11), to:
                    Case 2:08-cr-00093-KJM Document 1664 Filed 10/10/19 Page 9 of 12
AO 245B-CAED (Rev. 02/2018) Sheet 5B - Criminal Monetary Penalties
DEFENDANT: JOSHUA COFFMAN                                                                                                 Page 8 of 10
CASE NUMBER: 2:08CR00093-6

DELMA ROMERO                                                         EDWARD & LOIS WHIPPLE
MODESTO, CA 95358                                                    COVELO, CA 94528
$1,000.00                                                            $112,801.40
HUGO MORA                                                           VICTOR & CHRISTINE DE LA TORRE
LOS ANGELES, CA 90063                                               DOWNEY, CA 90240
$96,594.03                                                          $166,054.75
Restitution of $390,587.06, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7), Kou Yang (2:08-cr-00093-16) and Omar Sandoval (2:08-
cr-00093-11), to:
JACOB & LISA MALENTINO                                              SOPHIE KIDD
SAN JOSE, CA 95117                                                  LOS ANGELES, CA 90018
$68,933.66                                                          $321,653.40
Restitution of $40,143.77, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Elham Assadi (2:08-cr-00093-3), Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7), Kou Yang (2:08-cr-
00093-16), Omar Sandoval (2:08-cr-00093-11) and Xochitl Sandoval (2:08-cr-00093-12), to:
HUGO MORA
LOS ANGELES, CA 90063
$40,143.77
Restitution of $434,711.38, jointly and severally with co-defendant Charles Head (2:08-cr-00093-1), to:
DOROTHY GIST                                                        HENRY AND ARILIE WILLIAMS
CARSON, CA 90746                                                    FONTANA, CA 92335
$313,295.00                                                         $121,416.38
Restitution of $487,088.79, jointly and severally with co-defendant Akemi Bottari (2:08-cr-00093-5), Andrew Vu (2:08-cr-00093-14),
Charles Head (2:08-cr-00093-1), Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7) and Kou Yang (2:08-cr-
00093-16), to:
ESTHER FLORIN                                                        FRED & DAWN HOSIER
SAN BERNARDINO, CA 92404                                             MCKINNEY, TX 75071
$3,000.00                                                            $202,870.47
JOHN & DONNA WOODWARD                                                KARIE JOEST
LAKE ELSINORE, CA 92530                                              TULARE, CA 93274
$3,500.00                                                            $3,000.00
KENNETH OLSEN                                                        LORRAINE MACK
MENIFEE, CA 92584                                                    SAN DIEGO, CA 92102
$55,889.26                                                           $3,500.00
RICHARD FIGUEROA                                                     YVONNE STEWART
WILMINGTON, CA 90744                                                 KANSAS CITY, MO 64634
$142,841.54                                                          $72,487.52
Restitution of $528,989.94 to:
DEMARCO DAVIS                                                        HAL HALPERN
LOS ANGELES, CA 90039                                                ALISO VIEJO, CA 92656
$93,893.04                                                           $50,000.00
JACKELEN CALLAHAN                                                    OMAR KENYATTA

$355,096.90                                                         $30,000.00
Restitution of $71,570.71, jointly and severally with co-defendant Akemi Bottari (2:08-cr-00093-5), Charles Head (2:08-cr-00093-1)
and Justin Wiley (2:08-cr-00093-15), to:
MOLI & IOANE TUA
LEHI, UT 84043
$71,570.71
Restitution of $744,206.14, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Elham Assadi (2:08-cr-00093-3), Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7) and Kou Yang (2:08-cr-
00093-16), to:
                 Case 2:08-cr-00093-KJM Document 1664 Filed 10/10/19 Page 10 of 12
EMILY SILVA                                                       JANICE PENDLETON
PORTERVILLE, CA 93257                                             HEMET, CA 92544
$109,518.95                                                       $20,000.00
LANITA VINCENT                                                    LAURA MERCHANT
CARSON, CA 90746                                                  SANTA CRUZ, CA 95062
$86,769.38                                                        $128,594.94
LONNIE DAVIS                                                      RAMON & ESTELLE ESCOBAR
EL CERRITO, CA 94530                                              CARSON, CA 90745
$145,743.78                                                       $180,087.01
TERESA RETZ
CATHEDRAL CITY, CA 92234
$73,492.08
Restitution of $846.69, jointly and severally with co-defendant Akemi Bottari (2:08-cr-00093-5), Andrew Vu (2:08-cr-00093-14) and
Justin Wiley (2:08-cr-00093-15), to:
JANET HICKMAN
POMONA, CA 91767
$846.69
Restitution of $88,283.82, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), to:
                   Case 2:08-cr-00093-KJM Document 1664 Filed 10/10/19 Page 11 of 12
AO 245B-CAED (Rev. 02/2018) Sheet 5B - Criminal Monetary Penalties
DEFENDANT: JOSHUA COFFMAN                                                                                               Page 9 of 10
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JANICE PENDLETON
HEMET, CA 92544
$88,283.82
Restitution of $883,560.76, jointly and severally with co-defendant Andrew Vu (2:08-cr-00093-14), Charles Head (2:08-cr-00093-1),
Jeremy Michael Head (2:08-cr-00093-2), John Corcoran (2:08-cr-00093-7) and Kou Yang (2:08-cr-00093-16), to:
ANGELA WALDEN                                                        ANTHONY LUCERO
HENDERSON, NV 89015                                                  OAKDALE, CA 95361
$131,532.93                                                          $87,211.27
MARY SALAZAR                                                         PAMELA SPEIGHTS
TULARE, CA 93274                                                     LOS ANGELES, CA 90047
$33,070.59                                                           $115,022.43
RICHARD & BRENDA CLARK                                               ROBERT & GWEN LEE
HAWTHORN, CA 90250                                                   DUNCAN, OK 73533
$71,259.06                                                           $153,697.92
ROBERT & JOYCE WICKLUND                                              ROBERTO & LETICIA BARROSO
                                                                     COLTON, CA 92324
$10,000.00                                                           $192,623.57
TERRI TURNER
CITRUS HEIGHTS, CA 95610
$89,142.99
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AO 245B-CAED (Rev. 02/2018) Sheet 6 - Schedule of Payments
DEFENDANT: JOSHUA COFFMAN
CASE NUMBER: 2:08CR00093-6
                                                                                                                                Page 10 of 10
                                                       SCHEDULE OF PAYMENTS
        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A.               Lump sum payment of $               due immediately, balance due
                          Not later than      , or
                          in accordance               C,        D,        E,or           F below; or
B.               Payment to begin immediately (may be combined with                 C,           D,    or   F below); or

C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of      (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                 from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                 that time; or

F.               Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States: The Preliminary Order of
         Forfeiture is hereby made final as to this defendant and shall be incorporated into the Judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
